                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                 NO: 5:07-CR-00117-7-BR



 UNITED STATES OF AMERICA                                   )
                                                            )
 v.                                                         )
                                                                                   ORDER
                                                            )
                                                            )
 ARTHUR J. ANDERSON JR.,                                    )
                      Defendant                             )

       This matter is before the court on Gail Russell’s 19 August 2010 “Objection of

Collection by Financial Litigation Unit.”

       Russell received a subpoena directing her to appear in April 2010 for a deposition

regarding money defendant gave her. She appeared, and apparently the government contends

defendant’s giving of those funds to Russell constitutes a fraudulent conveyance, as the

government attempted to negotiate with Russell regarding payment of those funds to the

government.1 She requests that the court “order the Financial Litigation Unit to stop pursuing

me for the money that [defendant] gave me.”

       There is nothing pending before this court which it can “stop.” Russell appears to have

complied with the subpoena. The government is now attempting informal collection efforts

directed towards her. Until formal recovery is sought (through the filing of suit or some other

proceeding), the court has no basis to act. Thus, to the extent Russell’s filing could be deemed a




       1
        In October 2008, defendant was ordered to make restitution in the amount of $2,000,000.



        Case 5:07-cr-00117-BR             Document 552           Filed 08/24/10         Page 1 of 2
motion, it is DENIED.

      This 24 August 2010.




                                    __________________________________
                                          W. Earl Britt
                                          Senior U.S. District Judge




                                      2


       Case 5:07-cr-00117-BR   Document 552   Filed 08/24/10   Page 2 of 2
